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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )     Chapter 11
                                                              )
    PES HOLDINGS, LLC., et al.,1                              )     Case No. 19-11626 (KG)
                                                              )
                                       Debtors.               )     (Jointly Administered)
                                                              )

                             GLOBAL NOTES AND
                 STATEMENT OF LIMITATIONS, METHODOLOGY,
            AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        PES Holdings, LLC (“Holdings”) and its affiliates and subsidiaries, as debtors and debtors
in possession in the above-captioned chapter 11 cases, (the “Debtors”) have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”). The Debtors, with the assistance of their legal and financial advisors,
prepared the Schedules and Statements in accordance with section 521 of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of
Bankruptcy Procedure.

        Rachel Celiberti has signed each set of the Schedules and Statements. Ms. Celiberti serves
as the Chief Financial Officer of the Debtors. In reviewing and signing the Schedules and
Statements, Ms. Celiberti has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors.
Ms. Celiberti has not (and could not have) personally verified the accuracy of each such statement
and representation, including statements and representations concerning amounts owed to
creditors.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although
the Debtors have made every reasonable effort to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.


1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
     Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
     Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
     service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
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        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

                               Global Notes and Overview of Methodology

1.        Description of Cases. On July 21, 2019, (the “Petition Date”), each of the Debtors filed
          voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors are
          operating their businesses and managing their property as debtors in possession pursuant
          to sections 1107(a) and 1108 of the Bankruptcy Code. On the July 23, 2019, an order was
          entered directing procedural consolidation and joint administration of these
          chapter 11 cases [Docket No. 72]. Notwithstanding the joint administration of the Debtors’
          cases for procedural purposes, each Debtor has filed its own Schedules and Statements.
          The liability information provided herein represents the liability data of the Debtors as of
          the Petition Date and the asset information provided herein represents the asset data of
          the Debtors as of July 31, 2019, except as otherwise noted.

2.        Global Notes Control. These Global Notes and Statement of Limitations, Methodology,
          and Disclaimers Regarding the Debtors’ Schedules of Assets and Liabilities and Statements
          of Financial Affairs (the “Global Notes”) pertain to, are incorporated by reference in, and
          comprise an integral part of, each of the Debtors’ Schedules and Statements and should be
          referenced in connection with any review thereof. The Global Notes should be referred to,
          considered, and reviewed in connection with any review of the Schedules and Statements.
          In the event that the Schedules and Statements conflict these Global Notes, these Global
          Notes shall control.

3.        Reservations and Limitations. Reasonable efforts have been made to prepare and file
          complete and accurate Schedules and Statements; however, as noted above, inadvertent
          errors or omissions may exist. The Debtors reserve all rights to (a) amend and supplement
          the Schedules and Statements as may be necessary or appropriate, including, without
          limitation, the right to amend the Schedules and Statements with respect to claim
          (“Claim”)2 description, designation, or Debtor against which the Claim is asserted;

2    For purposes of these Global Notes, the term “Claim” shall have the meaning as defined under section 101(5) of
     the Bankruptcy Code.



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(b) dispute or otherwise assert offsets or defenses to any Claim reflected in the Schedules
and Statements as to amount, liability, priority, status or classification; (c) subsequently
designate any Claim as “disputed,” “contingent,” or “unliquidated;” or (d) object to the
extent, validity, enforceability, priority or avoidability of any Claim (regardless of whether
or not any such Claim is designated in the Schedules and Statements as “disputed,”
“contingent,” or “unliquidated”). Any failure to designate a Claim in the Schedules and
Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an admission
by the Debtors that such Claim or amount is not “disputed,” “contingent,” or
“unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtor
against which the Claim is listed or against any of the Debtors. Nothing contained in
the Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an
admission of any kind with respect to these chapter 11 cases, including, but not limited to,
any rights or claims of the Debtors against any third party or issues involving substantive
consolidation, equitable subordination, or defenses or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
rights contained elsewhere in the Global Notes does not limit in any respect the general
reservation of rights contained in this paragraph.

(a)    No Admission. Nothing contained in the Schedules and Statements is intended or
       should be construed as an admission or stipulation of the validity of any claim
       against the Debtors, any assertion made therein or herein, or a waiver of
       the Debtors’ rights to dispute any claim or assert any cause of action or defense
       against any party.

(b)    Recharacterization. Notwithstanding that the Debtors have made reasonable
       efforts to correctly characterize, classify, categorize, or designate certain claims,
       assets, executory contracts, unexpired leases, and other items reported in
       the Schedules and Statements, the Debtors nonetheless may have improperly
       characterized, classified, categorized, or designated certain items. The Debtors thus
       reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
       reported in the Schedules and Statements at a later time as is necessary and
       appropriate as additional information becomes available, including, without
       limitation, whether contracts or leases listed herein were deemed executory or
       unexpired as of the Petition Date and remain executory and unexpired postpetition.
       Disclosure of information in one or more Schedules, one or more Statements, or
       one or more exhibits or attachments to the Schedules or Statements, even if
       incorrectly placed, shall be deemed to be disclosed in the correct Schedules,
       Statements, exhibits, or attachments.

(c)    Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
       Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
       “executory” or “unexpired” does not constitute an admission by the Debtors of the
       legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
       rights to recharacterize or reclassify such claim or contract, or to setoff of such
       Claims, as appropriate.



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(d)   Claims Description. Schedules D and E/F permit each of the Debtors to designate
      a Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to
      designate a claim on a given Debtor’s Schedules and Statements as “disputed,”
      “contingent,” or “unliquidated” does not constitute an admission by the Debtor that
      such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim
      is not subject to objection. The Debtors reserve all rights to dispute, or assert offsets
      or defenses to, any claim reflected on their respective Schedules and Statements on
      any grounds, including, without limitation, amount, liability or classification, or to
      otherwise subsequently designate such claims as “disputed,” “contingent,” or
      “unliquidated” or object to the extent, validity, enforceability, priority, or
      avoidability of any claim. Moreover, listing a claim does not constitute an
      admission of liability by the Debtor against which the claim is listed or by any of
      the Debtors. The Debtors reserve all rights to amend their Schedules and
      Statements as necessary and appropriate, including, but not limited to, with respect
      to claim description and designation.

(e)   Estimates and Assumptions. The preparation of the Schedules and Statements
      required the Debtors to make reasonable estimates and assumptions with respect to
      the reported amounts of assets and liabilities, the amount of contingent assets and
      contingent liabilities on the date of the Schedules and Statements, and the reported
      amounts of revenues and expenses during the applicable reporting periods. Actual
      results could differ from such estimates.

(f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
      and/or set forth all of their causes of action (filed or potential) against third parties
      as assets in their Schedules and Statements, including, without limitation,
      avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
      other relevant bankruptcy and non-bankruptcy laws to recover assets or avoid
      transfers. The Debtors reserve all rights with respect to any causes of action
      (including avoidance actions), controversy, right of setoff, cross claim,
      counterclaim, or recoupment and any claim on contracts or for breaches of duties
      imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
      obligation, liability, damage, judgment, account, defense, power, privilege, license,
      and franchise of any kind or character whatsoever, known, unknown, fixed or
      contingent, matured or unmatured, suspected or unsuspected, liquidated or
      unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
      derivatively, whether arising before, on, or after the Petition Date, in contract or in
      tort, in law or in equity, or pursuant to any other theory of law (collectively, “Causes
      of Action”), and nothing in these Global Notes or the Schedules and Statements
      should be construed as a waiver of any such Causes of Action or in any way
      prejudice or impair the assertion of such claims or Causes of Action.

(g)   Intellectual Property Rights. Exclusion of certain intellectual property should not
      be construed to be an admission that such intellectual property rights have been
      abandoned, have been terminated or otherwise expired by their terms, or have been
      assigned or otherwise transferred pursuant to a sale, acquisition, or other
      transaction. Conversely, inclusion of certain intellectual property should not be


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            construed to be an admission that such intellectual property rights have not been
            abandoned, have not been terminated or otherwise expired by their terms, or have
            not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
            transaction.

     (h)    Insiders. In the circumstance where the Schedules and Statements require
            information regarding “insiders” the Debtors have included information with
            respect to certain individuals who served as officers and directors, as the case may
            be, during the relevant time periods. Such individuals may no longer serve in such
            capacities. The listing of a party as an insider for purposes of the Schedules and
            Statements is not intended to be, nor should it be, construed an admission of any
            fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
            expressly reserved. Information regarding the individuals listed as insiders in
            the Schedules and Statements has been included for informational purposes only
            and such information may not be used for the purposes of determining control of
            the Debtors, the extent to which any individual exercised management
            responsibilities or functions, corporate decision-making authority over the Debtors,
            or whether such individual could successfully argue that he or she is not an insider
            under applicable law, including the Bankruptcy Code and federal securities laws,
            or with respect to any theories of liability or any other purpose.

4.   Methodology.Basis of Presentation. The Schedules and Statements do not purport to
     represent financial statements prepared in accordance with Generally Accepted
     Accounting Principles in the United States (“GAAP”), nor are they intended to be fully
     reconciled to the financial statements of each Debtor. The Schedules and Statements
     contain unaudited information that is subject to further review and potential adjustment.
     The Schedules and Statements reflect the Debtors’ reasonable efforts to report the assets
     and liabilities of each Debtor on an unconsolidated basis.

     (b)    Comprehensive Enterprise.           The Debtors operate their business as a
            comprehensive enterprise and their financial affairs are complex. Before
            the Petition Date, the Debtors maintained a cash management and disbursement
            system in the ordinary course of their business (the “Cash Management System”).
            Disbursements under the Cash Management System were controlled primarily by
            personnel located at the Debtors’ headquarters. As described in further detail in
            the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to
            (A) Continue to Operate Their Cash Management System, (B) Honor Certain
            Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms,
            and (D) Perform Intercompany Transactions, and (II) Granting Related Relief
            [Docket No. 8] (the “Cash Management Motion”), certain payments in the
            Schedules and Statements may have been made by one legal entity on behalf of
            another legal entity through the operation of the Cash Management System or
            otherwise as a result of the Debtors’ operations. Further, due to the nature of
            the Debtors’ operations, certain Claims set forth in one legal entity’s Schedules and
            Statements may more appropriately be an obligation of another legal entity.
            Although diligent efforts have been made to set forth open payable amounts and
            Claims on the Schedules and Statements of the correct legal entity, the Debtors


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      reserve the right to modify or amend the Schedules and Statements to attribute open
      payable amounts and Claims to a different legal entity, if necessary or appropriate.

(c)   Confidential Information. There may be instances in the Schedules and
      Statements where the Debtors deemed it necessary and appropriate to redact from
      the public record information such as names, addresses, or amounts. Typically,
      the Debtors have used this approach because of an agreement between the Debtors
      and a third party, concerns of confidentiality and protection of sensitive commercial
      information, or concerns for the privacy of an individual. In addition, the very
      existence of certain agreements is (by the terms of such agreements) confidential.
      These agreements have been noted, however, as “Confidential” in the Schedules
      and Statements, where applicable. The alterations or redactions are limited only to
      what the Debtors believe is necessary.

(d)   Umbrella or Master Agreements. Contracts and leases listed in the Schedules
      and Statements may be umbrella or master agreements that cover relationships with
      some or all of the Debtors. Where relevant, such agreements have been listed in
      the Schedules and Statements only of the Debtor that signed the original umbrella
      or master agreement. Other Debtors, however, may be liable instead of, or together
      with, such Debtor on account of such agreements and the Debtors reserve all rights
      to amend the Schedules and Statements to reflect changes regarding the liability of
      the Debtors with respect to such agreements, if appropriate.

(e)   Executory Contracts. Although the Debtors have made diligent attempts to
      attribute an executory contract to its rightful Debtor, in certain instances,
      the Debtors may have inadvertently failed to do so due to the complexity and size
      of the Debtors’ businesses. Accordingly, the Debtors reserve all of their rights with
      respect to the named parties of any and all executory contracts, including the right
      to amend Schedule G. In addition, although the Debtors have made diligent
      attempts to properly identify executory contracts and unexpired leases, the
      inclusion of a contract or lease on Schedule G does not constitute an admission as
      to the executory or unexpired nature (or non-executory or expired nature) of the
      contract or lease, or an admission as to the existence or validity of any Claims held
      by the counterparty to such contract or lease.

(f)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
      may properly be disclosed in response to multiple parts of the Statements and
      Schedules. To the extent these disclosures would be duplicative, the Debtors have
      determined to only list such assets, liabilities and prepetition payments once.

(g)   Net Book Value. In certain instances, current market valuations for individual
      items of property and other assets are neither maintained by, nor readily available
      to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
      and Statements reflect net book values as of the Petition Date. Book values of
      assets prepared in accordance with GAAP generally do not reflect the current
      performance of the assets and may differ materially from the actual value and/or
      performance of the underlying assets. The Debtors believe that it would be an


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      inefficient use of estate assets for the Debtors to obtain the current market values
      of their property. Accordingly, the Debtors have indicated in the Schedules and
      Statements that the values of certain assets and liabilities are undetermined, and
      nothing contained in the Schedules and Statements is indicative of the Debtors’
      enterprise value. Also, assets that have been fully depreciated or that were
      expensed for accounting purposes either do not appear in these Schedules and
      Statements or are listed with a zero-dollar value, as such assets have no net book
      value. The omission of an asset from the Schedules and Statements does not
      constitute a representation regarding the ownership of such asset, and any such
      omission does not constitute a waiver of any rights of the Debtors with respect to
      such asset.

(h)   Property and Equipment. Unless otherwise indicated, owned property and
      equipment are valued at net book value. The Debtors may lease furniture, fixtures,
      and equipment from certain third-party lessors. Any such leases are listed in
      the Schedules and Statements. Nothing in the Schedules and Statements is, or
      should be construed as, an admission as to the determination of the legal status of
      any lease (including whether any lease is a true lease or a financing arrangement),
      and the Debtors reserve all rights with respect thereto.

(i)   Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
      and postpetition periods based on the information and research conducted in
      connection with the preparation of the Schedules and Statements. As additional
      information becomes available and further research is conducted, the allocation of
      liabilities between the prepetition and postpetition periods may change.
      Accordingly, the Debtors reserve all of their rights to amend, supplement, or
      otherwise modify the Schedules and Statements as is necessary or appropriate.
      The liabilities listed on the Schedules do not reflect any analysis of Claims under
      section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of
      their rights to dispute or challenge the validity of any asserted Claims under section
      503(b)(9) of the Bankruptcy Code or the characterization of the structure of any
      such transaction or any document or instrument related to any creditor’s Claim.

(j)   Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
      or “undetermined” is not intended to reflect upon the materiality of such amount.

(k)   Unliquidated Amounts. Amounts that could not be fairly quantified by
      the Debtors are scheduled as “unliquidated.”

(l)   Totals. All totals that are included in the Schedules and Statements represent totals
      of all known amounts. To the extent there are unknown or undetermined amounts,
      the actual total may be different than the listed total.

(m)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
      payables pursuant to bankruptcy or other court order; as such, outstanding liabilities
      may have been reduced by any court-approved postpetition payments made on
      prepetition payables. Where and to the extent these liabilities have been satisfied,



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      they are not listed in the Schedules and Statements. To the extent the Debtors later
      pay any amount of the claims listed in the Schedules and Statements pursuant to
      any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend
      or supplement the Schedules and Statements or to take other action, such as filing
      claims objections, as is necessary and appropriate to avoid overpayment or
      duplicate payments for liabilities. Nothing contained herein should be deemed to
      alter the rights of any party in interest to contest a payment made pursuant to an
      order of the Bankruptcy Court where such order preserves the right to contest.

(n)   Intercompany Claims. As described in the Cash Management Motion, Holdings
      does substantial business with its indirect parent, PES Energy, Inc., as well as with
      its affiliates and subsidiaries. Prepetition receivables and payables among the
      Debtors in these chapter 11 cases are reported on Schedule A/B and Schedule E/F,
      respectively, per the Debtors’ books and records. Intercompany Claims are listed
      as of July 31, 2019. Certain types of expenses are allocated among the Debtors
      utilizing a comprehensive allocation methodology in connection with the monthly
      accounting close. Additionally, there are certain expenses (e.g., debt service
      obligations) whose costs historically have been borne by Holdings or PES Energy
      Inc. alone, without regard to the allocation methodology. As such, intercompany
      liabilities listed on Schedule E/F are marked as “contingent” and “unliquidated.”
      For additional information about the Debtors’ intercompany transactions and
      related cash management protocols, see the Cash Management Motion. The listing
      of any amounts with respect to such receivables and payables is not, and should not
      be construed as, an admission of the characterization of such balances as debt,
      equity, or otherwise or conclusion of the Debtors regarding the allowance,
      classification, characterization, validity, or priority of such account. The Debtors
      take no position in these Schedules and Statements as to whether such accounts or
      notes would be allowed as a Claim, an Interest, or not allowed at all. Although
      diligent efforts have been made to set forth all, or all material, intercompany
      transactions, on the Schedules and Statements of the correct legal entity, the
      Debtors reserve the right to modify or amend the Schedules and Statements to
      include additional intercompany transactions or to attribute intercompany
      transactions to a different legal entity, if necessary or appropriate.

(o)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
      reasonable efforts to locate and identify guarantees in their executory contracts,
      unexpired leases, secured financings, and other such agreements.
      Where guarantees have been identified, they have been included in the relevant
      Schedules G and H for the affected Debtor or Debtors. The Debtors may have
      inadvertently omitted guarantees embedded in their contractual agreements and
      may identify additional guarantees as they continue their review of their books and
      records and contractual agreements. The Debtors reserve their rights, but are not
      required, to amend the Schedules and Statements if additional guarantees are
      identified.

(p)   Excluded Assets and Liabilities. The Debtors have excluded the following
      categories of assets and liabilities from the Schedules and Statements, including,


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            without limitation: certain deferred charges, accounts, or reserves recorded only
            for purposes of complying with the requirements of GAAP; deferred tax assets and
            liabilities; goodwill and other intangibles; deferred revenue accounts; and certain
            accrued liabilities including, but not limited to, accrued taxes, accrued salaries and
            employee benefits. The Debtors also have excluded worker’s compensation Claims
            to maintain the privacy of the claimants. The Debtors also have excluded rejection
            damage Claims of counterparties to executory contracts and unexpired leases that
            may or may not be rejected, to the extent such damage Claims exist. Other
            immaterial assets and liabilities may also have been excluded. The Bankruptcy
            Court has authorized (but not directed) the Debtors to pay, in their discretion,
            certain outstanding Claims on a postpetition basis. As discussed herein, prepetition
            liabilities that the Debtors have paid postpetition or those which the Debtors plan
            to pay according to Bankruptcy Court authorization may not be listed in the
            Schedules and Statements.

     (q)    Liens. The property and equipment listed in the Schedules and Statements are
            presented without consideration of any liens.

     (r)    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

     (s)    Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
            course of business. Such setoffs and nettings may occur due to a variety of
            transactions or disputes including, but not limited to, intercompany transactions,
            counterparty settlements, pricing discrepancies, rebates, returns, warranties,
            refunds, and negotiations and/or disputes between Debtors and their customers
            and/or suppliers. These normal, ordinary course setoffs and nettings are common
            to the oil and gas manufacturing industry. Due to the voluminous nature of setoffs
            and nettings, it would be unduly burdensome and costly for the Debtors to list each
            such transaction. Therefore, although such setoffs and other similar rights may
            have been accounted for when scheduling certain amounts, these ordinary course
            setoffs are not independently accounted for, and as such, are or may be excluded
            from the Debtors’ Schedules and Statements. In addition, some amounts listed in
            the Schedules and Statements may have been affected by setoffs or nettings by third
            parties of which the Debtors are not yet aware. The Debtors reserve all rights to
            challenge any setoff and/or recoupment rights that may be asserted.

5.   Specific Schedules Disclosures.

     (a)    Schedules Summary. Except as otherwise noted, the asset information provided
            herein represents the Debtors’ data as of July 31, 2019 and the liability information
            provided herein represents the Debtors’ data as of the Petition Date.

     (b)    For financial reporting purposes, the Debtors and certain of their non-Debtor
            affiliates ordinarily prepare consolidated financial statements. Unlike the
            consolidated financial statements, the Schedules reflect the assets and liabilities of
            each Debtor on a nonconsolidated basis, except where otherwise indicated.
            Accordingly, the totals listed in the Schedules will likely differ, at times materially,



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       from the consolidated financial reports prepared by the Debtors for financial
       reporting purposes or otherwise.

(c)    The Schedules do not purport to represent financial statements prepared in
       accordance with GAAP, nor are they intended to be fully reconciled with the
       financial statements of each Debtor. Additionally, the Schedules contain unaudited
       information that is subject to further review and potential adjustment, and reflect
       the Debtors’ reasonable best efforts to report the assets and liabilities of each Debtor
       on an unconsolidated basis. Moreover, given, among other things, the uncertainty
       surrounding the collection and ownership of certain assets and the valuation and
       nature of certain liabilities, to the extent that a Debtor shows more assets than
       liabilities, this is not an admission that the Debtor was solvent as of the Petition
       Date or at any time before the Petition Date. Likewise, to the extent a Debtor shows
       more liabilities than assets, this is not an admission that the Debtor was insolvent
       as of the Petition Date or at any time before the Petition Date.

(d)    Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
       Prepayments. Cash on hand is presented in accordance with the Debtors’ books
       and records as of the Petition Date. Details with respect to the Debtors’ cash
       management system and bank accounts are provided in the Cash Management
       Motion and any orders of the Bankruptcy Court granting the Cash Management
       Motion.

       Additionally, the Bankruptcy Court, pursuant to the Final Order (I) Approving
       the Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services,
       (II) Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
       Services, (III) Approving the Debtors’ Proposed Procedures for Resolving
       Additional Assurance Requests, and (IV) Granting Related Relief
       [Docket No. 232], has authorized the debtors to provide adequate assurance of
       payment for future utility services in an aggregate amount of approximately
       $1 million. Such deposits are not listed on Schedule A/B, Part 2, which has been
       prepared as of the Petition Date.

       Pursuant to the Interim Order (I) Authorizing Debtors to (A) Obtain Post-Petition
       Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(3),
       364(d)(1) and 364(e) and (B) Utilize Cash Collateral Pursuant to 11 U.S.C. §§ 363,
       (II) Granting Adequate Protection to Prepetition Secured Parties Pursuant to 11
       U.S.C. §§ 361, 362, 363, 364 and 507(b) and (III) Scheduling Final Hearing
       Pursuant to Bankruptcy Rules 4001(b) and (c) [Docket No. 85], the Debtors have
       access to the $100,000,000 DIP Term Loan (as defined therein).

(e)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
       in Incorporated and Unincorporated Businesses, including any Interest in an
       LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries,
       partnerships, and joint ventures have been listed in Schedule A/B, Part 4, as
       undetermined amounts on account of the fact that the fair market value of such
       ownership is dependent on numerous variables and factors, and may differ


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                  significantly from their net book value. As for question 15, equity interests in
                  subsidiaries and affiliates primarily arise from stockholder or member interests.
                  For purposes of the Schedules, the Debtors have listed an undetermined value for
                  the equity interests.

         (f)      Schedule A/B, Part 5 – Inventory, excluding Agricultural Assets. The Debtors
                  include in their books and records certain inventory of which they hold but are not
                  the owners. This inclusion by the Debtors is merely for tracking purposes. Such
                  inventory has been excluded from Schedule A/B, Part 5, but has been noted in
                  the Statements, part 13, question 27.

         (g)      Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
                  Collectibles. Dollar amounts are presented net of accumulated depreciation and
                  other adjustments.

         (h)      Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
                  impairments and other adjustments.

                  Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
                  including Counterclaims of the Debtor and Rights to Setoff Claims. In the
                  ordinary course of their businesses, the Debtors may have accrued, or may
                  subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, refunds
                  with their customers and suppliers, or potential warranty claims against their
                  suppliers. Additionally, certain of the Debtors may be party to pending litigation
                  in which the Debtors have asserted, or may assert, claims as a plaintiff or
                  counter-claims and/or cross-claims as a defendant. Because such claims are
                  unknown to the Debtors and not quantifiable as of the Petition Date, they are not
                  listed on Schedule A/B, Part 11.

                  Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
                  policies and related information is available in the Debtors’ Motion for Entry of an
                  Order (I) Authorizing the Debtors to (A) Continue Insurance Coverage Entered
                  into Prepetition and Satisfy Prepetition Obligations Related Thereto, (B) Renew,
                  Amend, Supplement, Extend, or Purchase and Finance Insurance Policies, and
                  (C) Continued and Renew Their Surety Bond Program and (II) Granting Related
                  Relief [Docket No. 11] (the “Insurance Motion”), and in the rider attached to part
                  11, question 73. The value of each insurance policy is included in the Insurance
                  Motion, and the current value of the Debtors’ interest in each insurance policy is
                  yet to be determined.3

         (i)      Schedule D – Creditors Who Have Claims Secured by Property. Except as
                  otherwise agreed pursuant to a stipulation, or agreed order, or general order entered

3   On August 7, 2019, the Debtors commenced an adversary proceeding by filing a complaint against ICBC Standard
    Bank PLC (“ICBCS”) seeking declaratory judgment that the Debtors’ insurance proceeds for business interruption
    losses resulting from the Girard Point Incident constitute Term Loan Priority Collateral as defined in
    the August 7, 2018 intercreditor agreement between ICBCS, the Term Loan Agent, and certain of the Debtors.



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       by the Bankruptcy Court that is or becomes final, the Debtors and their estates
       reserve their rights to dispute or challenge the extent, validity, priority, perfection,
       or immunity from avoidance of any lien purported to be granted or perfected in any
       specific asset to a creditor listed on Schedule D of any Debtor. Moreover, subject
       to the exception set forth above, although the Debtors may have scheduled claims
       of various creditors as secured claims, the Debtors reserve all rights to dispute or
       challenge the secured nature of any such creditor’s claim or the characterization of
       the structure of any such transaction or any document or instrument (including,
       without limitation, any inter-creditor or intercompany agreement) related to such
       creditor’s claim. In certain instances, a Debtor may be a co-obligor or guarantor
       with respect to scheduled claims of other Debtors, and no claim set forth on
       Schedule D of any Debtor is intended to acknowledge claims of creditors that are
       otherwise satisfied or discharged by other entities. Further, while the Debtors have
       included the results of Uniform Commercial Code searches, the listing of such
       results is not, nor shall it be deemed, an admission as to the validity of any such
       lien. Conversely, the Debtors made reasonable, good faith efforts to include all
       liens on Schedule D, but may have inadvertently omitted to include an existing lien
       because of, among other things, the possibility that a lien may have been imposed
       after the Uniform Commercial Code searches were performed or a vendor may not
       have filed the requisite perfection documentation. Reference to the applicable loan
       agreements and related documents is necessary for a complete description of the
       collateral and the nature, extent, perfection and priority of any liens. Nothing in
       the Global Notes or the Schedules and Statements shall be deemed a modification
       or interpretation of the terms of such agreements.

       In response to “Describe debtor’s property that is subject to lien,” and “Describe
       the lien,” any description of the creditor’s liens or their priority herein is qualified
       in its entirety by reference to the operative documents, agreements, schedules, any
       amendments and exhibits to the preceding and any documents evidencing
       perfection of such lien. The Debtor is taking no position on the extent or priority
       of a particular creditor’s lien in this document.

       Moreover, the Debtors have not included on Schedule D parties that may believe
       their Claims are secured through setoff rights or inchoate statutory lien rights.
       Although there are multiple parties that hold a portion of the debt included in
       the Debtors’ prepetition secured credit facility and other funded secured
       indebtedness, only the administrative agents have been listed for purposes of
       Schedule D. The amounts reflected outstanding under the Debtors’ prepetition
       funded indebtedness reflect approximate amounts as of the Petition Date.

(j)    Schedule E/F – Creditors Who Have Unsecured Claims.

       Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Final Order
       (I) Authorizing the Payment of Certain Prepetition and Postpetition Taxes and Fees
       and (II) Granting Related Relief [Docket No. 219] (the “Taxes Order”), the Debtors
       have been granted the authority to pay, in their discretion, certain tax liabilities that
       accrued prepetition. Accordingly, any unsecured priority claims based upon


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 prepetition tax accruals that have been paid pursuant to the Taxes Order are not
 listed in Schedule E/F.

 Furthermore, pursuant to the Final Order (I) Authorizing the Debtors to (A) Pay
 Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses
 and (B) Continue Employee Benefits Programs and (II) Granting Related Relief
 [Docket No. 221] (the “Wages Order”), the Debtors received authority to pay
 certain prepetition obligations, including to pay employee wages and other
 employee benefits, in the ordinary course of business. The Debtors believe that all
 such claims have been, or will be, satisfied in the ordinary course during their
 chapter 11 cases pursuant to the authority granted in the Wages Order. The Debtors
 believe that any non-insider employee claims for prepetition amounts related to
 ongoing payroll and benefits, whether allowable as a priority or nonpriority claim,
 have been satisfied. Such satisfied amounts are not listed in Schedule E/F.
 Schedule E/F does not include entries related to Workers Compensation Claims,
 the disclosure of which may be a violation of HIPAA laws. These creditors have
 been included in the creditor matrix and will receive proofs of claim forms to be
 filed if they believe they have a Claim against a Debtor

 Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
 in Schedule E/F, Part 2, are derived from the Debtors’ books and records and does
 not reflect any admission or conclusion of the Debtors regarding the allowance,
 classification, characterization, validity, or priority of such claims. The Debtors
 take no position in these Schedules and Statements as to whether such claims would
 be allowed as a Claim, an Interest, or not allowed at all. The Debtors and all parties
 in interest reserve all rights with respect to such claims.

 The Debtors made a reasonable attempt to set forth their unsecured obligations,
 although the actual amount of claims against the Debtors may vary from those
 liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
 the correct amount of any unsecured creditor’s allowed claims or the correct
 amount of all unsecured claims.

 The Debtors generally allocate individual liabilities to particular Debtors.
 However, in certain cases, it would be a time-consuming and inefficient use of
 estate resources, or impracticable, to assign a given liability to a particular Debtor.
 To the extent the debt could not be attributed to a specific Debtor, the liability has
 been listed on Schedule E/F, Part 2, of Philadelphia Energy Solutions Refining and
 Marketing LLC (“PESRM”).

 Schedule E/F, Part 2, contains information regarding certain compensation-related
 claims of insiders of the Debtors. In scheduling such claims, the Debtors make no
 representation or assertion as to the validity of such claims, and the Debtors reserve
 all rights, claims, and defenses in connection therewith.

 Schedule E/F, Part 2, contains information regarding threatened or pending
 litigation involving the Debtors. The amounts for these potential claims are listed


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       as “undetermined” and are marked as contingent, unliquidated, and disputed in the
       Schedules and Statements.

       Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
       to executory contracts and unexpired leases. Such prepetition amounts, however,
       may be paid in connection with the assumption or assumption and assignment of
       an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
       not include claims that may arise in connection with the rejection of any executory
       contracts and unexpired leases, if any, that may be or have been rejected.

       In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
       incurred on various dates or on a date or dates that are unknown to the Debtors or
       are subject to dispute. Where the determination of the date on which a claim arose,
       accrued, or was incurred would be unduly burdensome and costly to the Debtors’
       estates, the Debtors have not listed a specific date or dates for such claim.

       As of the time of filing of the Schedules and Statements, the Debtors had not
       received all invoices for payables, expenses, and other liabilities that may have
       accrued prior to the Petition Date. Accordingly, the information contained in
       Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
       undertake no obligations, to amend Schedules D and E/F if and as they receive such
       invoices.

       Pursuant to the Final Order (I) Authorizing the Debtors to Pay Certain Prepetition
       Claims of Critical Vendors and (II) Granting Related Relief [Docket No. 222]
       (the “Critical Vendor Order”), the Bankruptcy Court granted the Debtors authority
       to pay or honor certain prepetition obligations for Critical Vendors (as defined
       therein). The Debtors have not listed on Schedule E/F any critical vendor
       obligations which the Debtors believe they have satisfied in the ordinary course
       during their chapter 11 cases pursuant to the authority granted in the Critical Vendor
       Order.

(k)    Schedule G – Executory Contracts and Unexpired Leases. While reasonable
       efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
       omissions may have occurred.

       The Debtors hereby expressly reserve the right to assert that any instrument listed
       on Schedule G is an executory contract or unexpired lease within the meaning of
       section 365 of the Bankruptcy Code. In addition, the Debtors reserve all of their
       rights, claims, and causes of action with respect to claims associated with any
       contracts and agreements listed on Schedule A/B, including their right to dispute or
       challenge the characterization or the structure of any transaction, document, or
       instrument (including any intercompany agreement) related to a creditor’s claim.

       Additionally, in certain instances, executory contracts and unexpired leases may be
       omitted due to their confidential nature, but can be made available to the U.S.
       Trustee on a confidential basis. The Debtors may have entered into various other



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 types of agreements in the ordinary course of their business, such as supplemental
 agreements and letter agreements, which documents may not be set forth in
 Schedule G. Additionally, relationships between the Debtors and certain
 counterparties are often governed by a master services agreement, under such
 counterparties also place work and purchase orders, which may be considered
 executory contracts. Disclosure of these purchase and work orders, however, is
 impracticable and unduly burdensome. Accordingly, to the extent the Debtors have
 determined to disclose non-confidential master services agreements in Schedule G,
 purchase and work orders placed thereunder have been omitted.

 The contracts, agreements, and leases listed on Schedule G may have expired or
 may have been modified, amended, or supplemented from time to time by various
 amendments, restatements, waivers, estoppel certificates, letters, memoranda, and
 other documents, instruments, and agreements that may not be listed therein despite
 the Debtors’ use of reasonable efforts to identify such documents. Further, unless
 otherwise specified on Schedule G, it is the Debtors’ intent that each executory
 contract or unexpired lease listed thereon shall include all exhibits, schedules,
 riders, modifications, declarations, amendments, supplements, attachments,
 restatements, or other agreements made directly or indirectly by any agreement,
 instrument, or other document that in any manner affects such executory contract
 or unexpired lease, without respect to whether such agreement, instrument, or other
 document is listed thereon.

 Listing a contract or agreement on Schedule G does not constitute an admission
 that such contract or agreement is an executory contract or unexpired lease or that
 such contract or agreement was in effect on the Petition Date or is valid or
 enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
 status, effectiveness, or enforceability of any contracts, agreements, or leases set
 forth in Schedule G and to amend or supplement such Schedule as necessary.
 Certain of the leases and contracts listed on Schedule G may contain renewal
 options, guarantees of payment, indemnifications, options to purchase, rights of
 first refusal and other miscellaneous rights. Such rights, powers, duties and
 obligations are not set forth separately on Schedule G.

 In some cases, the same supplier or provider may appear multiple times in Schedule
 G. Multiple listings, if any, reflect distinct agreements between the applicable
 Debtor and such supplier or provider.

 Omission of a contract or agreement from Schedule G does not constitute an
 admission that such omitted contract or agreement is not an executory contract or
 unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
 any such omitted contracts or agreements are not impaired by the omission.

 Insurance policies are not listed on Schedule G. Refer to the Debtors’ Motion for
 Entry of an Order (I) Authorizing the Debtors to (A) Continue Insurance Coverage
 Entered into Prepetition and Satisfy Prepetition Obligations Related Thereto,
 (B) Renew, Amend, Supplement, Extend, or Purchase and Finance Insurance


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            Policies, and (C) Continued and Renew Their Surety Bond Program and (II)
            Granting Related Relief [Docket No. 11] for a list of the Debtors’ insurance
            policies.

     (l)    Schedule H – Co-Debtors. For purposes of Schedule H, counterparties that are
            subject to a guaranty are listed as Co-Debtors on Schedule H. The Debtors have
            not listed any litigation-related Co-Debtors on Schedule H. Instead, all such listings
            can be found on the Debtors’ Schedule E/F.

6.   Specific Statements Disclosures.

     (a)    Statements, Part 2, Question 1. The Debtors’ gross revenues from business are
            presented from the beginning of the fiscal year through July 31, 2019.

     (b)    Statements, Part 2, Question 2. The Debtors’ non-business revenues are
            presented from the beginning of the fiscal year through July 31, 2019.

     (c)    Statements, Part 2, Question 3 and 4 – Payments to Certain Creditors. Prior
            to the Petition Date, the Debtors maintained a centralized cash management system
            through which PESRM and certain of its Debtor affiliates made certain payments
            on behalf of other entities. Consequently, all payments to creditors and insiders
            listed in response to Questions 3 and 4 on each of the Debtors’ Statements reflect
            payments made by PESRM or one of its Debtor affiliates from operating bank
            accounts (the “Operating Accounts”), on behalf of the corresponding debtor,
            pursuant to the Debtors’ cash management system described in the Cash
            Management Motion. For the sake of completeness and out of an abundance of
            caution, the Debtors have listed transfers valued at less than $6,825 in their response
            to Question 3. In addition, payments listed in Statements, Part 2, Question 4 are
            net payments as of actual invoices and include credits and inter-company liabilities.

     (d)    Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
            incurred by the Debtors, refer to paragraph 4(s) of these Global Notes.

     (e)    Statements, Part 6, Question 11 – Payments Related to Bankruptcy.
            The attachment to Question 11 reflects payments to professionals made from
            the Debtors’ Main Concentration Account, which is owned by PESRM, on behalf
            of the eight Debtors on a consolidated basis. The Debtors believe that it would be
            an inefficient use of the assets of the Debtors’ estates for the Debtors to allocate
            these payments on a Debtor-by-Debtor basis. The response to Question 11 in each
            of the Debtors’ Statements thus refers to the attachment to Question 11 of PESRM’s
            Statement.

     (f)    Statements, Part 11, Question 21 – Property Held for Another. The Debtors
            are obligated under various agreements to remit certain funds held for third parties
            to those parties, and have received authorization to do so under the Final Order (I)
            Authorizing the Debtors to Pay Certain Prepetition Claims of Critical Vendors and
            (II) Granting Related Relief [Docket No. 222]. To the extent that any of the funds
            described above are held or paid for the benefit of third parties, such funds do not


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       constitute property of the Debtors’ estates, and the Debtors therefore have not
       included such amounts in their responses to Statement Question 21.

(g)    Statements, Part 12, Questions 22-24 – Details About Environmental
       Information. The Debtors have operated over a substantial period of time and, as
       a result, may no longer possess the relevant records, or the records may no longer
       be complete or reasonably accessible. In addition, certain statutory document
       retention periods may have lapsed. Furthermore, certain individuals who once
       possessed responsive information may no longer be employed by the Debtors. As a
       result, it may not be reasonably possible to identify and supply the requested
       information for every “notice” responsive to Statements or every “proceeding”
       responsive to Statements. Nonetheless, the Debtors have devoted substantial
       internal and external resources to identify and provide the requested information
       for as many responsive notices as reasonably possible. The Debtors reserve the
       right to supplement or amend their response in the future if additional information
       becomes available.

(h)    Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
       The Debtors provide certain parties, such as banks, auditors, potential investors,
       vendors, and financial advisors, with financial statements. The Debtors do not
       maintain complete lists or other records tracking such disclosures. Therefore,
       the Debtors have not provided lists of these parties in their Responses to Statement
       Question 26.

(i)    Statements, Part 13, Question 28 – Current Partners, Officers, Directors, and
       Shareholders. The Debtors incorporate by reference the (I) List of Equity Security
       Holders and (II) Corporate Ownership Statement attached to each Debtor’s
       Voluntary Petition. See, e.g., Voluntary Petition for Non-Individuals Filing for
       Bankruptcy in Case No. 19-11626 (KG) [Docket No. 1].

(j)    Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
       Credited or Given to Insiders. Distributions by the Debtors to their directors and
       officers are listed on the attachment to Questions 3 and 4. Certain directors and
       executive officers of PES Energy Inc. are also executive officers of certain Debtor
       subsidiaries. To the extent payments to such individuals are not listed in the
       response to Questions 3 and 4 on the Statements for such Debtor subsidiaries, they
       did not receive payment for their services as directors or executive officers of these
       entities. Certain of the Debtors’ directors and executive officers received
       distributions net of tax withholdings in the year preceding the Petition Date. The
       amounts listed under Questions 3 and 4 reflect the gross amounts paid to such
       directors and executive officers, rather than the net amounts after deducting for tax
       withholdings.



                         *       *       *        *      *




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North Yard GP, LLC

                                         Delaware

          19-11627




                                                                                                  0.00



                                                                                                  0.00
                                                                                + undetermined amounts



                                                                                                  0.00
                                                                                + undetermined amounts




                                                                                     1,015,626,159.00
                                                                                + undetermined amounts




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                                    5b




                                                                                     1,015,626,159.00
                                                                                + undetermined amounts
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    North Yard GP, LLC

                                           Delaware

               19-11627




X




                                                                              0.00




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    North Yard GP, LLC                                         19-11627




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X




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X




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    North Yard GP, LLC                                           19-11627




X




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    North Yard GP, LLC                                          19-11627




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X




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    North Yard GP, LLC                                           19-11627




X




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    North Yard GP, LLC                                            19-11627




X




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X




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         North Yard GP, LLC                                            19-11627




X




None                                                                                                0.00




None
                                                                                                    0.00




See Attached Rider                                                                                  0.00
                                                                                   + undetermined amounts




None                                                                                                0.00




None                                                                                                0.00




None                                                                                                0.00




None                                                                                                0.00




                                                                                                    0.00
                                                                                   + undetermined amounts



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North Yard GP, LLC                                                       19-11627




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                                            + undetermined amounts

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                                         + undetermined amounts




                                                                                                            0.00
                                                                                           + undetermined amounts
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Debtor Name: North Yard GP, LLC                                                                   Case Number: 19-11627

                                               Assets - Real and Personal Property

                                  Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                            Current value of debtor's
Description                             Policy type                            Policy number
                                                                                                            interest
CHUBB / ACE AMERICAN INSURANCE          EXCESS DIRECTORS &                     G71166909 001                                Undetermined
COMPANY INC.                            OFFICERS 7TH
CHUBB / ACE AMERICAN INSURANCE          EXCESS DIRECTORS &                     G31329814 001                                Undetermined
COMPANY INC.                            OFFICERS 8TH
ACE AMERICAN INSURANCE COMPANY          AUTO LIABILITY                         ISA H09053517                                Undetermined
INC.
ACE AMERICAN INSURANCE COMPANY          WORKER'S COMPENSATION/EL               WLR C49107912                                Undetermined
INC.
ACE PROPERTY & CASUALTY COMPANY,        UMBRELLA LIABILITY                     G27833056 004                                Undetermined
INC.
ARCH INSURANCE CO.                      EXCESS DIRECTORS &                     PCX1000005                                   Undetermined
                                        OFFICERS 2ND
ARCH REINSURANCE LTD (BERMUDA)          EXCESS LIABILITY                       URP0056196-00                                Undetermined

ARGO RE LTD                             EXCESS LIABILITY                       ARGO-CAS-OR-000618                           Undetermined

AXA                                     EXCESS LIABILITY                       XLUMB-1233613                                Undetermined

AXIS SURPLUS INSURANCE COMPANY          EXCESS LIABILITY                       P-001-000083481-01                           Undetermined

BEAZLEY INSURANCE COMPANY               EXCESS DIRECTORS &                     V2414A180101                                 Undetermined
                                        OFFICERS 5TH
BERKSHIRE HATHAWAY                      EXCESS DIRECTORS &                     47-EMC-305869-01                             Undetermined
                                        OFFICERS 4TH
BERKSHIRE HATHAWAY                      EXCESS DIRECTORS &                     47-EMC-305873-01                             Undetermined
                                        OFFICERS 9TH
CHUBB BERMUDA INSURANCE LTD.            EXCESS LIABILITY                       PES-1643/XL004                               Undetermined

ENDURANCE AMERICAN INSURANCE            EXCESS DIRECTORS &                     DOX10013565100                               Undetermined
COMPANY                                 OFFICERS 3RD
ENDURANCE SPECIALTY INSURANCE LTD EXCESS LIABILITY                             EXC10003755500                               Undetermined

EVANSTON INSURANCE CO.                  RAILROAD PROPERTY                      RRP1641-3                                    Undetermined

EVEREST NATIONAL INSURANCE CO.          COMMERCIAL EXCESS LIABILITY XC9EX00060-191                                          Undetermined

GENERAL SECURITY NATIONAL               EXCESS LIABILITY                       FA0038510-2019-1                             Undetermined
INSURANCE CO.
HAMILTON RE, LTD.                       EXCESS LIABILITY                       CX18-5994                                    Undetermined

INDIAN HARBOR INSURANCE COMPANY         EXCESS LIABILITY                       US00073774LI19A                              Undetermined

IRONSHORE SPECIALTY INSURANCE           EXCESS LIABILITY                       1452906                                      Undetermined
COMPANY
LEX-LONDON                              EXCESS LIABILITY                       62785411                                     Undetermined

LIBERTY SPECIALTY MARKETS               EXCESS LIABILITY                       IS0001063                                    Undetermined

LLOYD’S OF LONDON                       EXCESS LIABILITY                       ENGLO1900260                                 Undetermined

LLOYD'S SYNDICATE NO. 1414 (SLIP        MARINE CARGO STORAGE                   MACAR1800076                                 Undetermined
LEADER) AND VARIOUS UNDERWRITERS
AT LLOYDS OF LONDON
LLOYD'S SYNDICATE XLC NO. 2003 (SLIP    TERRORISM ($500M QUOTA                 CMCTR1802119                                 Undetermined
LEADER) AND VARIOUS UNDERWRITERS        SHARE)
AT LLOYDS OF LONDON


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Debtor Name: North Yard GP, LLC                                                                    Case Number: 19-11627

                                                Assets - Real and Personal Property

                                   Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                Current value of debtor's
Description                              Policy type                            Policy number
                                                                                                                interest
MARKEL                                   POLLUTION LIABILITY                    MKLV4ENV101831                                  Undetermined

MARKEL BERMUDA LTD                       UMBRELLA LIABILITY                     1389241-10125-UMB-2019                          Undetermined

NATIONAL UNION FIRE INS CO (34%)         PRIMARY MARINE TERMINAL                45779282                                        Undetermined
STONINGTON INS CO(33%)                   OPERATORS                              SF19MLLM11600
NAVIGATORS INS CO(33%)                                                          HO19LIA15088201
NATIONAL UNION FIRE INS CO(50%)          EXCESS MARINE TERMINAL                 045779293                                       Undetermined
NAVIGATORS INS CO(50%)                   OPERATORS                              HO17LIA15088202
NATIONAL UNION FIRE INS. CO. OF          DIRECTORS &                            01-778-79-74                                    Undetermined
PITTSBURGH PA.                           OFFICERS/EPLI/FID/CRIME/EMPL
                                         OYED LAWYERS
NATIONAL UNION FIRE INS. CO. OF          EXCESS DIRECTORS &                     01-773-90-54                                    Undetermined
PITTSBURGH PA.                           OFFICERS 6TH
NATIONAL UNION FIRE INS. CO. OF          EXCESS DIRECTORS &                     01-778-79-75                                    Undetermined
PITTSBURGH PA.                           OFFICERS 11TH
OIL CASUALTY INSURANCE LTD               EXCESS LIABILITY                       U920270-0812                                    Undetermined
(BERMUDA)
QBE INSURANCE CORPORATION                EXCESS DIRECTORS &                     100003196                                       Undetermined
                                         OFFICERS 10TH
SELF-INSURED                             GENERAL LIABILITY                      SELF-INSURED                                    Undetermined

STARR SURPLUS LINES INSURANCE            COMMERCIAL EXCESS LIABILITY 1000030838191                                              Undetermined
COMPANY
STARR SURPLUS LINES INSURANCE            EXCESS LIABILITY                       1000030714191                                   Undetermined
COMPANY
STARR SURPLUS LINES INSURANCE            EXCESS LIABILITY                       1000030715191                                   Undetermined
COMPANY
STEADFAST INSURANCE COMPANY              EXCESS POLLUTION LIABILITY             AEC0117876-03                                   Undetermined

THE STANDARD CLUB                        CHARTERERS LIABILITY                   TRD26791/26792/18                               Undetermined

U.S. SPECIALTY INSURANCE CO.             EXCESS DIRECTORS &                     14-MGU-17-A39860                                Undetermined
                                         OFFICERS 1ST
VARIOUS                                  COMMERCIAL PROPERTY                    VARIOUS                                         Undetermined
                                         COVERAGE
WESTCHESTER FIRE INSURANCE               EXCESS LIABILITY                       G24317092 007                                   Undetermined
COMPANY
                                                                                                        TOTAL                         $0.00
                                                                                                                     + undetermined amounts




                                                               Page 2 of 2
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        North Yard GP, LLC
                                                      Delaware

                    19-11627




X




CORTLAND CAPITAL MARKET SERVICES LLC   SEE SCHEDULE D DISCLOSURES
                                                                                   123,727,240.00       Undetermined

                                       Describe the lien
225 W. WASHINGTON ST.                  GUARANTOR OF TERM LOAN TRANCHE A
9TH FLOOR
ATTN: FRANCES REAL AND LEGAL DEPT
CHICAGO, IL 60606


                                       X

                       Undetermined
                                       X



X                                      X
                                       X




CORTLAND CAPITAL MARKET SERVICES LLC   SEE SCHEDULE D DISCLOSURES
                                                                                    60,544,385.00       Undetermined

                                       Describe the lien
225 W. WASHINGTON ST.                  GUARANTOR OF TERM LOAN TRANCHE A-2
9TH FLOOR
ATTN: FRANCES REAL AND LEGAL DEPT
CHICAGO, IL 60606

                                       X

                      Undetermined
                                       X



X                                      X
                                       X




                                                                                   1,015,626,159.00
                                                                               + undetermined amounts


                                                                                                             4
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Debtor           North Yard GP, LLC                                                                         Case number (if known) 19-11627
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.

2.3   Creditor's name                                        Describe debtor's property that is subject to a lien                    $79,465,136.00         $ Undetermined
      CORTLAND CAPITAL MARKET SERVICES LLC                   SEE SCHEDULE D DISCLOSURES

      Creditor's mailing address                             Describe the lien
      225 W. WASHINGTON ST.                                  GUARANTOR OF TERM LOAN TRANCHE B
      9TH FLOOR
      ATTN: FRANCES REAL AND LEGAL DEPT
      CHICAGO, IL 60606


      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.4   Creditor's name                                        Describe debtor's property that is subject to a lien                  $448,812,238.00          $ Undetermined
      CORTLAND CAPITAL MARKET SERVICES LLC                   SEE SCHEDULE D DISCLOSURES

      Creditor's mailing address                             Describe the lien
      225 W. WASHINGTON ST.                                  GUARANTOR OF TERM LOAN TRANCHE C
      9TH FLOOR
      ATTN: FRANCES REAL AND LEGAL DEPT
      CHICAGO, IL 60606


      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines



Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 2 of 4
                                Case 19-11626-KG                      Doc 308           Filed 09/06/19              Page 31 of 41

Debtor           North Yard GP, LLC                                                                         Case number (if known) 19-11627
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.5   Creditor's name                                        Describe debtor's property that is subject to a lien                  $303,077,160.00          $ Undetermined
      ICBC STANDARD BANK PLC                                 SEE SCHEDULE D DISCLOSURES

      Creditor's mailing address                             Describe the lien
      20 GRESHAM STREET                                      GUARANTOR OF SIXTH AMENDED AND RESTATED SUPPLY
      ATTN: HEAD OF ENERGY                                   AND OFFTAKE AGREEMENT
      LONDON EC2V 7JE
      UNITED KINGDOM


      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                             X Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.6   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined          $ Undetermined
      MERRILL LYNCH COMMODITIES, INC.

      Creditor's mailing address                             Describe the lien
      20 E GREENWAY PLAZA                                    UCC - Lien Claim - As provided in UCC File Number
      SUITE 700                                              20194246885
      HOUSTON, TX 77046                                      Filed on: 6/20/2019




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred 06/20/2019
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 3 of 4
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Debtor         North Yard GP, LLC                                                                 Case number (if known) 19-11627
              Name




Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no other need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1    Last 4 digits of
         Name and address                                                                                      did you enter the          account number
                                                                                                               related creditor?          for this entity


    None




Official Form 206D              Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             Page 4 of 4
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    North Yard GP, LLC

                                            Delaware

    19-11627




X




                                                                                4
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North Yard GP, LLC                                          19-11627




                                              0.00




                                               0.00




                                              0.00




                                              0.00




                                              0.00




                                               0.00




                                                                         page 2 of 4
                            Case 19-11626-KG                     Doc 308            Filed 09/06/19              Page 35 of 41

Debtor          North Yard GP, LLC                                                                     Case number (if known) 19-11627
               Name




 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.
If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



      Name and mailing address                                                                 On which line in Part 1 or Part 2 is           Last 4 digits of
                                                                                               the related creditor (if any) listed?          account number, if
                                                                                                                                              any




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 4
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North Yard GP, LLC                                            19-11627




                                                                                         0.00




                                                                                         0.00




                                                                                         0.00




                                                                           Page 4 of 4
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    North Yard GP, LLC


                                         Delaware
               19-11627                      11




X




                                                                                   1
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          North Yard GP, LLC

                                                   Delaware

                      19-11627




X




PES Holdings, LLC                                                 CORTLAND CAPITAL
                                                                  MARKET SERVICES LLC      X




PES Holdings, LLC                                                 CORTLAND CAPITAL
                                                                  MARKET SERVICES LLC      X




PES Holdings, LLC                                                 CORTLAND CAPITAL
                                                                  MARKET SERVICES LLC      X




PES Holdings, LLC                                                 CORTLAND CAPITAL         X
                                                                  MARKET SERVICES LLC




PES Holdings, LLC                                                 ICBC STANDARD BANK PLC
                                                                                           X




North Yard Logistics, L.P.                                        CORTLAND CAPITAL
                                                                  MARKET SERVICES LLC
                                                                                           X




                                                                                               3
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Debtor          North Yard GP, LLC                                                    Case number (if known) 19-11627
               Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                       Mailing address                                           Name                      Check all schedules
                                                                                                                           that apply:

2.7    North Yard Logistics, L.P.                                                            CORTLAND CAPITAL MARKET
                                                                                             SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.8    North Yard Logistics, L.P.                                                            CORTLAND CAPITAL MARKET
                                                                                             SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.9    North Yard Logistics, L.P.                                                            CORTLAND CAPITAL MARKET
                                                                                             SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.10   North Yard Logistics, L.P.                                                            ICBC STANDARD BANK PLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.11   PES Administrative Services,                                                          CORTLAND CAPITAL MARKET
       LLC                                                                                   SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.12   PES Administrative Services,                                                          CORTLAND CAPITAL MARKET
       LLC                                                                                   SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.13   PES Administrative Services,                                                          CORTLAND CAPITAL MARKET
       LLC                                                                                   SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.14   PES Administrative Services,                                                          CORTLAND CAPITAL MARKET
       LLC                                                                                   SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.15   PES Administrative Services,                                                          ICBC STANDARD BANK PLC
       LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.16   Philadelphia Energy Solutions                                                         CORTLAND CAPITAL MARKET
       Refining and Marketing LLC                                                            SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.17   Philadelphia Energy Solutions                                                         CORTLAND CAPITAL MARKET
       Refining and Marketing LLC                                                            SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G


Official Form 206H                                         Schedule H: Codebtors                                        Page 2 of 3
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Debtor          North Yard GP, LLC                                                    Case number (if known) 19-11627
              Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                        Mailing address                                           Name                      Check all schedules
                                                                                                                           that apply:

2.18   Philadelphia Energy Solutions                                                         CORTLAND CAPITAL MARKET
       Refining and Marketing LLC                                                            SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.19   Philadelphia Energy Solutions                                                         CORTLAND CAPITAL MARKET
       Refining and Marketing LLC                                                            SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.20   Philadelphia Energy Solutions                                                         ICBC STANDARD BANK PLC
       Refining and Marketing LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G




Official Form 206H                                         Schedule H: Codebtors                                        Page 3 of 3
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    North Yard GP, LLC

                                               Delaware

              19-11627




                                                                                  12/15




                                                                                    in




X

X

X

X

X

X




            09/06/2019             /s/ Rachel Celiberti




                                   Rachel Celiberti


                                   Chief Financial Officer
